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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                     FORT MYERS DIVISION
LINDA BURNS, on behalf of herself and all
similarly situated individuals,

                    Plaintiff,

          vs.
                                                    Case No. 2:18-CV-625-Ftm-32MRM
MLK EXPRESS SERVICES, LLC,

               Defendants.
_____________________________________
_________/


    MOTION TO INTERVENE BY INTERESTED PARTY GREGORY GIBBS FOR
   LIMITED PURPOSE OF OBJECTING TO REPORT AND RECOMMENDATION
                              [D.E.25]

          Interested Party Gregory Gibbs (“Gibbs”), by and through undersigned counsel, hereby

moves to intervene in this matter as a matter of right pursuant to Fed.R.Civ.P 24 to protect his

own interests and the interests of the already conditionally certified class in Gibbs v. MLK

Express Services, LLC et al., Case No. 2:18-cv-00434-SPC-MRM, for the purpose of stating his

objections to the Report and Recommendation (the “R&R”) [D.E. 25], entered on January 29,

2020 in the above captioned matter. Namely, Gibbs seeks to intervene so that he may object to

the recommendation, which if left-undisturbed, would result in the conditional certification and

notice to putative opt-ins in two virtualy identical collective actions, the first-filed Gibbs matter,

and this second-filed case. Rather than issue notice in separate but identical collective actions,

the Court should preclude this second-filed action from proceeding as a collective action and

should dismiss the collective action allegations. In support, Mr. Gibbs respectfully states as

follow:




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                                            INTRODUCTION

        Mr. Gibbs is one of the named Plaintiffs in Gibbs v. MLK Express Services, LLC et al.,

Case No. 2:18-cv-00434-SPC-MRM, where the presiding United State District Judge previously

conditionally certified a class of:

                Local delivery drivers or driver associates who were paid by the
                MLK Defendants, who worked at the MLK facility in Fort Myers,
                Florida, and who were solely paid a purported ‘day rate’ within the
                three-year period preceding the date on which notice is issued by
                mail or email, whichever is earlier.

Gibbs, No. 2:18-cv-00434-SPC-MRM (D.E. 166 at 26)(the “Gibbs Class”). As noted in the

R&R, the Gibbs Class is nearly identical to the purported class in this action, which is currently

defined as:

                All local delivery drivers or delivery associates who were paid by
                MLK Express Services, LLC and worked out of the 4642
                Elevation Way, Fort Myers, Florida facility, and who were paid a
                purported ‘day rate’ from on or about August 1, 2017 [(the date
                when MLK Express began operating)] through on or about May
                19, 2018 [(the date when MLK Express converted to an hourly rate
                pay schedule)]. (the “Burns Class”).

        In light of the Court’s recommendation that the Court deny approval of the potential

settlement in this matter, it is improper to allow a competing notice to issue in this case to

members of the already conditionally certified class in Gibbs, No. 2:18-cv-00434-SPC-MRM.

Ms. Burns is free to pursue her claims on an individual basis against MLK Express, but to allow

her to purportedly represent a class of local delivery drivers that is virtually identical to the

already conditionally certified class in the Gibbs case violates the first-to-file rule, frustrates the

notions of judicial economy and efficiency, and will undoubtedly cause confusion and

consternation among the members of the class. The Magistrate Judge noted as much by saying,

“[g]iven that the class definition in both Gibbs and Burns substantially overlap, there is a high

probability that potential opt-in plaintiffs will be confused if one notice mentions the parties have

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reached a settlement while the other does not.” D.E. 25 at pg. 9. Gibbs further argues that since

the parties in the Burns matter conditioned their request for certification on whether or not this

Court also approved the proposed settlement, it would be improper to allow conditional

certification since the proposed settlement was not approved.

       As such, Gibbs respectfully seeks leave to intervene in this case to object to the Report

and Recommendation to the extent the Report and Recommendation seeks to allow the

conditional certification of the same class that has previously been conditionally certified in the

Gibbs case.

                  PROCEDURAL HISTORY AND FACTUAL SUPPORT

       On June 18, 2018, Mr. Gibbs was the first to file a Collective Action Complaint, in this

court, against MLK Express, Inc. and Amazon.com Services, Inc. (and other defendants), under

the Fair Labor Standards Act (“FLSA”). See Gibbs, No. 2:18-cv-00434-SPC-MRM [D.E. 1].

Mr. Gibbs alleged that he was paid a day rate and that the defendants failed to pay him overtime

in violation of the FLSA. See Id. Mr. Gibbs also sought collective resolution of his claims on

behalf of all similarly situated local delivery drivers. See Id. On September 18, 2018, three

months later, Ms. Burns filed a nearly identical lawsuit, also in this court, alleging the same

violations of law and pursuing the same relief against two of the same Defendants named in the

Gibbs matter. . See D.E. 1. Ms. Burns also sought unpaid overtime for local delivery drivers

who worked through MLK Express and Amazon.com Services, Inc.

       On September 20, 2018, Mr. Gibbs moved to conditionally certify his case as a collective

action under the FLSA. See Gibbs, No. 2:18-cv-00434-SPC-MRM [D.E. 40]. On June 27, 2019,

Mr. Gibbs’ motion was granted, in part, and this Court conditionally certified the Gibbs Class,

and directed the parties in the Gibbs case to confer and submit a mutually agreed to notice to be



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sent to the Gibbs Class, and if agreement could not be reached, to submit competing notices for

approval. See Gibbs, No. 2:18-cv-00434-SPC-MRM [D.E. 166].

        While the motion to conditionally certify was pending in the Gibbs case, the parties in the

Burns case filed their Stipulated Motion for Certification and Issuance of notice [D.E. 19] as well

their Joint Motion for Settlement Approval [D.E. 20].             On January 29, 2020, despite

acknowledging the confusion that may ensue from allowing two notices to be sent in the two

cases, the R&R was entered granting in part the Motion for Certification and Issuance of Notice

for settlement purposes only and recommending denial of the Motion to Approve Settlement

[D.E.20] without prejudice. [D.E.19]. The end result is that if adopted, this Court will have

conditionally certified two identical classes for the same or substantially similar claims against

the same defendants.

                               ARGUMENT AND AUTHORITY

   I.      THE GIBBS CASE WAS FIRST-FILED AND FIRST TO OBTAIN
           CONDITIONAL CERTIFICATION OF AN IDENTICAL CLASS SUCH
           THAT   A   SUBSEQUENT    CERTIFICATION  IS  INEFFICIENT,
           DUPLICATIVE, AND WOULD CONFUSE CLASS MEMBERS

        The Supreme Court has stated, “[a]s between federal district courts... the general

principle [regarding proceedings concerning the same matter] is to avoid duplicative litigation.”

Colo. River Water Conservation Dist. v. United States, 424 U.S. 800, 817, 96 S.Ct. 1236, 1247

(1976). The Eleventh Circuit and most other federal circuit courts have recognized the “first-

filed” rule as a method of avoiding duplicative litigation. The Fifth Circuit has made clear that

the purpose of the rule “is to avoid the waste of duplication, to avoid rulings which may trench

upon the authority of sister courts, and to avoid piecemeal resolution of issues that call for a

uniform result.” The Cadle Company v. Whataburger, 174 F.3d 599, 603 (5th Cir. 1999)

(citations omitted). In the Eleventh Circuit, the “first-filed” rule was first articulated in Merrill


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Lynch, Pierce, Fenner and Smith, Inc. v. Haydu, 675 F.2d 1169, 1174 (11th Cir. 1982): “[i]n

absence of compelling circumstances, the court initially seized of a controversy should be the

one to decide the case.”       Stated similarly, under the first-to-file rule, “when parties have

instituted competing or parallel litigation in separate courts, the court initially having jurisdiction

should hear the case.” Johnson et. al. v. Fedex Ground Package System, Inc., Case. No. 5:19-cv-

196-Oc-30PRL, D.E. 52 (M.D. Fla. 2019) (citing Allstate Ins. Co. v. Clohessy, 9 F. Supp. 2d

1314, 1316 (M.D. Fla. 1998)); accord Manuel v. Convergys Corp., 430 F.3d 1132, 1135 (11th

Cir. 2005) (“Where two actions involving overlapping issues and parties are pending in two

federal courts, there is a strong presumption across the federal circuits that favors the forum of

the first-filed suit under the first-filed rule.”). The rule is “designed to avoid concurrent litigation

of the same issues, between the same parties, in more than one federal court.” Alvarez v. Gold

Belt, LLC, No. 08-cv-4871, 2009 WL 1473933, at *2 (D.N.J. May 26, 2009); accord Lott v. Adv.

Sales & Mktg. LLC, No. 2:10-cv-00980-JEO, 2011 WL 13229682, at *2 (N.D. Ala. Jan. 26,

2011).

         While the first-to-file rule has traditionally been invoked where there are separate

litigations in different courts, there is no reason to limit its application to the instant matter

because the Gibbs and Burns cases are pending before the same court. Both cases involve

identical defendants, both cases involve identical classes, and the Gibbs Class, which has already

been conditionally certified necessarily includes Ms. Burns and the potential opt-ins into her

case. Alvarez v. Gold Belt LLC, No. 08-cv-4871, 2011 WL 1337457, at *3 (D.N.J. Apr. 7, 2011)

(holding that “[c]ertification of a separate collective action is not available” once a first-filed and

duplicative collective action has been conditionally certified.)




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        Numerous courts have recognized that the first-to-file rule is “particularly appropriate in

the context of competing FLSA collective actions, which threaten to present overlapping classes,

multiple attempts at certification in two different courts, and complicated settlement

negotiations.” Ortiz v. Panera Bread Co., No. 1:10-cv- 1424, 2011 WL 3353432, at *2, *7 (E.D.

Va. Aug. 2, 2011) (citing cases); see also, e.g., Lott, 2011 WL 13229682, at *4-6 (dismissing

collective action claims under first-filed rule); Alvarez v. Gold Belt LLC, 2011 WL 1337457, at

*3; Abushalieh v. Am. Eagle Exp., 716 F. Supp. 2d 361, 366 (D.N.J. 2010) (“Where each set of

named plaintiffs [in a FLSA collective action] intends to represent the other set, the underlying

principles of the first-filed rule . . . permit this Court to defer to the court of first jurisdiction.”).

        The first-to-file rule applies here because this matter is duplicative of Gibbs since “both

raise identical issues and seek identical relief on behalf of an identical group of proposed

plaintiffs against an identical defendant, [MLK Express].” See Abushalieh, 716 F. Supp. 2d at

366. As such, the issuance of notice in the Burns matter would violate the first-to-file rule as it

relates to the already conditionally certified Gibbs Class. See Alvarez v. Gold Belt LLC, 2011

WL 1337457, at *3. As such, the Court should not follow the recommendation made in the R&R

to conditionally certify an identical class to the one already conditionally certified by this

district’s sister court in Gibbs. Further, it would not be improper to stay the Burns matter until

the Gibbs case reaches its ultimate resolution.

                                            CONCLUSION

        Based on upon the foregoing, interested party Gregory Gibbs, respectfully requests that

he be allowed to intervene in this matter so that he may lodge his objections to the Report and

Recommendation entered on January 29, 2020 [D.E.25], based on the fact that the relief

recommended in the R&R, is directly at odds with the previous certification of an identical class



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of local delivery drivers who worked for the Defendant in the first filed Gibbs matter, and would

only serve to confuse and confound the potential pool of opt-ins who will receive competing

notices of the separate actions.

Dated: February 12, 2020                    Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

        I hereby certify that on February 12, 2020, the foregoing document was electronically

filed with the Clerk of Court using the CM/ECF system, which will send a notice of electronic

filing to all counsel of record.


                                            /s/ Paul M. Botros
                                            Paul M. Botros




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